           Case 3:16-cv-00885-AVC Document 38 Filed 12/02/16 Page 1 of 3
                                                  	  


                         UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF CONNECTICUT


JACK MONTAGUE,
     Plaintiff,

v.
                                                           CIVIL ACTION
YALE UNIVERSTIY, ANGELA GLEASON,                           No. 3:16-cv-00885-AVC
JASON KILLHEFFER, and OTHERS
UNKNOWN,
     Defendants.



     UNOBJECTED-TO MOTION FOR LEAVE TO FILE CONSOLIDATED PLEADING

         Now comes the plaintiff in the above-captioned case and moves this Court for leave to

file a consolidated opposition to Defendants’ Motion to Bifurcate and reply to Defendants’

Opposition to Plaintiff’s Motion for Preliminary Injunction. As reasons therefore, plaintiff states:

      1. The plaintiff’s reply to Defendants’ Opposition to Plaintiff’s Motion for Preliminary

         Injunction is due on December 5, 2016.

      2. The plaintiff’s opposition to Defendants’ Motion to Bifurcate is due on December 12,

         2016.

      3. Defendants’ Motion to Bifurcate and their Opposition to Plaintiff’s Motion for

         Preliminary Injunction concern interrelated matters that are more properly addressed in a

         single pleading. Consequently, plaintiff proposes to file, on December 12, 2016, a

         consolidated pleading opposing Defendants’ motion to bifurcate and replying to

         Defendants’ Opposition to Plaintiff’s Motion for Preliminary Injunction.
             Case 3:16-cv-00885-AVC Document 38 Filed 12/02/16 Page 2 of 3
                                                     	  


       4. Filing that single, consolidated pleading on December 12, 2016, will not delay the

          proceedings or prejudice either party, since plaintiff’s opposition to Defendants’ Motion

          to Bifurcate is due on that date in any event.

       5. Finally, the parties have conferred and the defendants do not object to plaintiff filing a

          consolidated pleading with a deadline of December 12, 2016.

          WHEREFORE, Plaintiff respectfully requests that this Court grant his motion to file a

consolidated pleading, and his motion to set the time for filing to December 12, 2016.



                                                 JACK MONTAGUE,

                                                 By his attorneys,


                                                 /s/ Max D. Stern
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Dated: December 2, 2016

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             Case 3:16-cv-00885-AVC Document 38 Filed 12/02/16 Page 3 of 3
                                                      	  


                                   CERTIFICATE OF SERVICE

       I, Max D. Stern, hereby certify that this document filed through the ECF system will be sent
         electronically to the registered participants as identified on the Notice of Electronic Filing
                                         (NEF) on December 2, 2016.

                                                     /s/ Max D. Stern

	  




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